                  Case 1:21-cv-11723-AK Document 15 Filed 12/28/21 Page 1 of 1




 AO 399 (01/U�) Waiver ofth� Service of Summons


                                          UNITED STATES DISTRICT COURT
                                                                              for the
                                                                District of Massachusetts

                        Sacha Berlik, et al.                                     )
                             Plaintiff                                           )
                                v.                                               )      Civil Action No. 1:21-cv-11723
___4________           M
                       ...1.,.c          ....
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                                                er_,_,.,.e___ al_. ________
                                                          . t __                 )
                               Defendant                                         )

                                                w.MVER OF           nrn SERVICE OF SUMMONS

               (Name ofthe ptaini,Jj 's ali<JrtTey or unrepresentl!d p/amttjj)

         I have received your request to waive service of a summons in this �tion a.long with� <;QJ)Y ofthe '-Omplaint,
 two copies of this waiver torm, and a prepaid ·means of returning one signed copy of the form to you.

            I, or the entity I rcpreSt:nt, ag1t:t: to savt: Liu: expense of serving a surumons and complaint in this cast:.

         I understand that T, or thr. tmtity T reprei;ent, will keep all rl�fon� or objections to the Jaw1uit, the r.omt'-.
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represe11!., must fi!1: arn.l si::1vt: au an�wer or a motion under Rule 12 withi11
60 days from               11/16/202,             , the date when this request was sent (or 90 cfays if it was sent outside thf!
United States). Ifl fail to do so, a default judgment will be entered against me or the entity I represent.


            12/14/2021

        Thomvest Ventures ltd.
        Primed 11anrc ofpany waivir1g service ofsu!HMons
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                                                                                            Daniel W. Halston

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                                                                                                                   Address
                                                                                                      daniel.halston@wilmerhafe.com
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                                                                                                     , «      --· . .u«««=«   n <•-------·
                                                                                                                  Telephone number

                                              Duty hl A.void U1mecm.ary Exp-ens�§ ofServing li Summeiis
          Rute 4 oflhe Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unneressary expenses ofser,,ing a summons
and complaint. A def,m,lant who is located in the United States nnd whn failll to return a sigm�,i waive.,. of service w..quested by II plaintiff loc�tAli in
the United States will be required to pay the expenses of seNice, unless the defendant shows good CMISe for the failure.
          "Good canse" doell nnt inr.lmh, 11 heliefthal the lawsuit is grouncilr:s,i, or that it has been hmneht in an improper VF-Ollf'., or thnt th1< mnrt hit�
no jurisdiction over this matter or over the defendant or till: defendant's property.
        If the waiver is signed ood rctumcd, you cnn still m8ke these ood all other defenses and objections, but you cannot object lo the abs.cna: of
a summons or of service.

           Jf you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion imdu Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respornl than ifa summons !ml treeri served.
